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                              UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TEXAS
                                   BEAUMONT DIVISION

  UNITED STATES OF AMERICA                         §
                                                   §
  v.                                               §    CASE NO. 1:04-CR-32(4)
                                                   §
  EZTRA TATMON                                     §

           FINDINGS OF FACT AND RECOMMENDATION ON PLEA OF TRUE
                BEFORE THE UNITED STATES MAGISTRATE JUDGE

         Pursuant to 28 U.S.C. § 636(b) and the Local Rules for the District Court, Eastern District

  of Texas, the District Court referred this matter for hearing and the submission of findings of fact

  and a report and recommendation pursuant to 18 U.S.C. §§ 3401(i) and 3583(e). The United States

  alleges that the defendant, Ezra Tatmon, violated conditions of supervised release imposed by

  United States District Judge Ron Clark of the Eastern District of Texas. The United States

  Probation Office filed its Petition for Warrant or Summons for Offender Under Supervision

  requesting the revocation of the defendant's supervised release [Clerk’s doc. #140].

         The Court conducted a hearing on August 30, 2011, in accordance with Federal Rules of

  Criminal Procedure 11, 32 and 32.1. The defendant was present and represented by counsel at the

  hearing. Having heard the evidence, this court factually finds that the defendant has violated



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  conditions of supervision and recommends that such violation warrants the revocation of his

  supervised release.

         After conducting the proceeding in the form and manner prescribed by Federal Rule of

  Criminal Procedure11, the Court finds:

         a.      That the defendant, after consultation with counsel of record, has knowingly, freely

  and voluntarily consented to the administration of the plea of true in this cause by a United States

  Magistrate Judge subject to a final approval and imposition of sentence by the District Court.

         b.      That the defendant is fully competent and capable of entering an informed plea, that

  the defendant is aware of the nature of the charges and the consequences of the plea, that his plea

  of true is a knowing and voluntary plea, not the result of force or threats, and that the plea is

  supported by an independent evidentiary basis in fact establishing each of the essential elements of

  the conduct.

                                   STATEMENT OF REASONS

         A. Procedural History

        On October 20, 2004, the Honorable Ron Clark, United States District Judge for the Eastern

 District of Texas, sentenced Defendant after he pled guilty to the offenses of Conspiracy to Commit

 Offenses Against the United States (Count 1), a Class D felony; and Making, Uttering, and

 Possessing Counterfeited Securities (Count 2), a Class C felony. Judge Clark sentenced the

 defendant to 12 months and 1 day imprisonment, on each count to run concurrently, to be followed

 by a 3-year term of supervised release on each count, both terms to run concurrently subject to the

 standard conditions of release, plus special conditions to include $6,466.61 in restitution; financial

 disclosure; new debit/credit prohibition; gambling prohibition; drug aftercare; and no contact with


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 codefendants. On October 20, 2010, Ezra Tatmon completed his period of imprisonment and began

 service of the supervision term.

        B. Allegations in Petition

        The United States alleges that the defendant violated the following standard condition of

 supervised release:

        The defendant shall refrain from any unlawful use of a controlled substance.

        Specifically, Mr. Tatmon submitted a urine specimen on January 8, 2011, which returned

 positive for marijuana use. Mr. Tatmon admitted, verbally and in writing, to consuming marijuana

 on January 1, 2011.

        C. Evidence presented at Hearing:

        At the hearing, the Government offered the following evidence as its factual basis for the

 allegations set out supra. The Government would present evidence from Simon Counseling where

 the defendant was attending substance abuse counseling. That documentation would show that on

 January 8, 2011, he submitted a urine specimen to Simon Counseling which yielded a positive result

 for marijuana. The Government would also present a signed admission form executed by Mr.

 Tatmon and a United States Probation Officer on January 10, 2011. In that admission form, the

 defendant admitted that he had in fact used marijuana on January 1, 2011, and that he submitted a

 specimen to Simon Counseling which testified positive for marijuana.

        Defendant, Ezra Tatmon, offered a plea of true to the allegations. Specifically, he agreed

 with the evidence summarized above and pled true to the allegation he failed to submit monthly

 written reports for the months alleged in violation of his supervision conditions.




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          D. Sentencing Guidelines; Findings and Recommended Disposition

          The allegations, supporting evidence and plea of true warrant revocation of supervised

 release. See 18 U.S.C. § 3583(e)(3). The Court factually finds by a preponderance of the evidence

 that the defendant violated a mandatory condition of his supervised release by using a controlled

 substance. This conduct constitutes a Grade C violation under U.S.S.G. § 7B1.3(a)(2). Upon

 finding a Grade C violation, the Court may revoke the defendant’s supervised release. See U.S.S.G.

 § 7B1.3(a)(2); 18 U.S.C. § 3583(g).

          Based upon the Defendant’s criminal history category of VI and the Grade C violation, the

 sentencing guidelines suggest a sentence of imprisonment for a period ranging from eight (8) to

 fourteen (14) months. See U.S.S.G. § 7B1.4(a). Because the original offense of convictions were

 a Class C and a Class D felony, respectively, the statutory maximum imprisonment term upon

 revocation is two (2) years, less any time the Defendant has already served in prison for a previous

 revocation. See 18 U.S.C. § 3583(e)(3).

          If the Court revokes a defendant’s term of supervision and orders the defendant to serve a

 term of imprisonment for that revocation, the Court may also require that the defendant be placed

 on a new term of supervised release. See 18 U.S.C. § 3583(h). The length of this term of supervised

 release shall not exceed the term of supervised release authorized by statute for the offense which

 resulted in the original term of supervised release, less any term of imprisonment that was imposed

 upon revocation of supervised release. Id. Based on the original offense, the maximum term of

 supervised release that may be imposed in this revocation proceeding is not more than three (3)

 years.




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         The Fifth Circuit states that Chapter 7 of the Sentencing Guidelines regarding the revocation

 of supervised release is advisory only. See United States v. Cade, 279 F.3d 265, 271 n.2 (5th Cir.

 2002) (citing United States v. Montez, 952 F.2d 854, 859 (5th Cir. 1992); United States v. Headrick,

 963 F.2d 777, 782 (5th Cir. 1992)). Because Chapter 7 was promulgated as an advisory policy

 statement and there are no applicable guidelines for sentencing after revocation of supervised

 release1, the Court may impose a greater or lesser sentence upon revocation. United States v.

 Gonzalez, 250 F.3d 923, 925 (5th Cir. 2001). Further, a sentence imposed for revocation will be

 upheld unless it is in violation of the law or plainly unreasonable. Id. See also United States v.

 Pena, 125 F.3d 285, 288 (5th Cir. 1997) (citations omitted).

         Here, the evidence and the defendant’s own admission supports a finding that used a

 controlled substance in violation of his supervision conditions. Mr. Tatmon voluntarily pled true,

 agreed with the Court’s recommended sentence for that violation, and waived his right to allocute

 before the District Court. See Consent to Revocation of Supervised Release and Waiver of Right to

 Be Present and Speak at Sentencing.

         Accordingly, based upon the defendant’s plea of true, the agreement of the parties, and the

 evidence presented in this case, it is the recommendation of the undersigned United States Magistrate

 Judge that the District Court accept the plea of true and revoke Defendant’s supervised release. The

 undersigned magistrate judge recommends that the District Court order Defendant to serve a term

 of eight (8) months imprisonment.




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           See U.S. Sentencing Guidelines Manual, Ch. 7, pt. A, cmt. 1 ("At this time, the Commission has chosen to
 promulgate policy statements only.")

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        The Court further recommends that, upon his release from prison, Mr. Tatmon should be

 sentenced to a new term of supervised release for twenty-eight (28) months, subject to the

 following conditions:

        “Within 72 hours of release from the custody of the Bureau of Prisons, the defendant shall

 report in person to the probation office in the district to which the defendant is released.

        While on supervised release, the defendant shall not commit another federal, state, or local

 crime, and shall comply with the standard conditions that have been adopted by the Court, and shall

 comply with the following additional conditions:

        It is further ordered that the defendant is to pay restitution totaling $3,673.92 to the victim

 listed in the “Victim Impact” section of the Presentence Report. The Court orders the restitution

 payments to begin immediately. Any amount that remains unpaid when the defendant’s supervision

 commences is to be paid on a monthly basis at a rate of at least 10% of the defendant’s gross income,

 to be changed during supervision, if needed, based on the defendant’s changed circumstances,

 pursuant to 18 U.S.C. § 3664(k). Additionally, at least 50% of receipts received from gifts, tax

 returns, inheritances, bonuses, lawsuit awards, and any other receipt of money (to include, but not

 limited to, gambling proceeds, lottery winnings, and found money) must be paid toward the unpaid

 restitution balance within 15 days of receipt. Restitution is payable by cashier’s check or money

 order made out to the United States District Court and forwarded to the Fine and Restitution Section,

 U.S. Courts, 1910 SE Loop 323, # 287, Tyler, Texas 75701. Interest is waived.

        The defendant shall provide the probation officer with access to any requested financial

 information for purposes of monitoring efforts to maintain lawful employment.


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        The defendant shall not incur new credit charges or open additional lines of credit without

 the approval of the probation officer unless payment of any financial obligation ordered by the Court

 has been paid in full.

        The defendant shall not participate in any form of gambling unless payment of any financial

 obligation ordered by the Court has been paid in full.

        The defendant shall not illegally possess a controlled substance, and shall refrain from any

 unlawful use of a controlled substance.

        The defendant shall participate in a program of testing and treatment for drug abuse, under

 the guidance and direction of the U.S. Probation Office, until such time as the defendant is released

 from the program by the probation officer.”

                                           OBJECTIONS

        Objections must be: (1) specific, (2) in writing, and (3) served and filed within fourteen (14)

 days after being served with a copy of this report. See 28 U.S.C. § 636(b)(1). A party’s failure to

 object bars that party from: (1) entitlement to de novo review by a district judge of proposed

 findings and recommendations, see Rodriguez v. Bowen, 857 F.2d 275, 276-77 (5th Cir. 1988), and

 (2) appellate review, except on grounds of plain error of unobjected-to factual findings and legal

 conclusions accepted by the district court, see Douglass v. United Servs. Auto. Ass’n., 79 F.3d 1415,

 1417 (5th Cir. 1996) (en banc). The constitutional safeguards afforded by Congress and the courts

 require that, when a party takes advantage of his right to object to a magistrate’s findings or

 recommendation, a district judge must exercise its nondelegable authority by considering the actual

 evidence and not merely by reviewing and blindly adopting the magistrate judge’s report and


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 recommendation. See Hernandez v. Estelle, 711 F.2d 619, 620 (5th Cir. 1983); United States v.

 Elsoffer, 644 F.2d 357, 359 (5th Cir. 1981) (per curiam).


                   SIGNED this the 1st day of September, 2011.




                                                      ____________________________________
                                                      KEITH F. GIBLIN
                                                      UNITED STATES MAGISTRATE JUDGE




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